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                            UNITED STATES DISTRICT COURT
                                 DISTRJCT OF MINNESOTA

 UNITEDSTATESOFAMERICA,                                     CriminalNo.12-26(6)(JRr/JSM)

                                       Plaintiff,


                                                             SPECIAL VERDICT FORM
 WILLIAM EARL MORRIS,

                                   Defendant.




      1.    We, the Jury, find the defendant. William Earl          Morris.              l*V
                                                                               N^t f.r;Nof@tlr\1
                                                                               1fr.; cutlrY   o.

of the crime of conspiracy to participate in the affairs of an enterprise through a pattern        of

racketeering activity, as charged in COUNT           I   of the Indictment.



                   Ir voun lxswnR rs *NOT GUILTY,'          sKrp   ro euDsrroN 2.
                   IF youR ANswEn rs   *GUILTY,"     ANSWER    euDsrroNs      lA-lC.



          1A:      Do you find that William Earl Monis agreed that he or a conspirator would

commit a racketeering act or acts under Count 1 involving a mixture or substance.

containine cocaine?

                         YES                                       No-x-
                   IF youR ANSWER Is "Nor'sKIp      ro euEsrroN 18.
                   IF youR ANSWER ts
                                     (YEs," ANSWER THE FoLLowING
                                                                 eUESTIoN:




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     Please place an          X on the line for the total amount of mixture or substance
     containing cocaine that you find that William Earl Monis is responsible for:


             _ (l) 5 kilograms or more of a mixture or substance containing
                         cocaine

             _     (2)   500 grams or more, but less than 5 kilograms of a mixture
                         or substance containing cocaine

             _     (3) Less than 500 grams ofa mixture or substance containing
                         cocaine

             Check the drug quantity that the jury unanimously agrees was iwolved in
             the offerce. If you are unable to agree, check the entry of the lowest drug
             quantity.


     1B:         Do you find that William Earl Morris agreed that he or a conspirator would

commit   a   racketeering act or acts under Count      I involving   cocaine base?

                          YES                                  No-x-
                 IF YoUR ANSWER Is .3No,, SKIP To QUESTTON IC.

                 Ir voun   AxswsR ts 6YEs," ANSwER THE FoLLowINc QUESTIoN!



     Please place an        X on the line for the total amount of cocaine     base that you find that

     William Earl Morris is responsible for:


             _ (l) 280 grams or more of cocaine base
             _ (2) 28 grams or more, but less than 280 grams of cocaine base
             _ (3) Less than 28 grams ofa cocaine base
             Check the drug quantity that the jury unanimously aglees wds involved in
             the offense. Ifyou are unable to agree, check the entry of the lowest drug
             quantity.




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       lC:       Do you find that William Earl Monis agreed that he or a conspirator would

commit   a   racketeering act or acts under Count       I involving methamphetamine?

                        YES                                     NOX
                 Ir voun lxsweR   Is   "No,'   sKrp   ro euDsrtoN   2.

                 IF youR ANSWER ts     "YEs,"   ANSWER THE   FoLLowtNc euEsrloN:


       Please place an     X on the line for the total amount of            methamphetamine that you

       find that William Earl Morris is responsible for:


             _     (1) 50 grams or more of a mixture or                  substance containing
                       methamphetamine

             _     (2) Less than 50 grams of a mixture or                substance containing
                       methamphetamine

             Check the drug quantity that the jury unanimously agrees wds involved in
             the offense. If you are unable to agree, check the entry of the lowest drug
             auantitv.



      2.     We, the Jury, find the defendant, William Earl Morris,

of the crime of conspiracy to use and carry a firearm during and in relation to a crime of

violence, as charged in COUNT 2 of the Indictment.




      3.     We, the Jury, find the defendant, William Earl Morris,
                                                                              (insert CUILTY or FOT GUILTY)

of the crime of attempted murder in aid of racketeering, as charged in COUNT 3 of the

Indictment.




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        4.   We, the Jury, find the defendant, William Earl     Morris,         I'rr;   lfy'
                                                                          (ins€n CUILTY   or^OT CUILTY)

of the crime of assault with a dangerous weapon in aid of racketeering, as charged in

COUNT 4 of the Indictment.




                                                                                 /\l
         5A. We, the Jury, find the defendant, William Earl Morris, leui                  l*V
                                                                          (insen GUILTY ortrloT CUILTY)

of the crime of use and carrying a firearm during and in relation to crime of violence,                   as


chareed in COUNT 5 of the Indictment.




         5B. We, the Jury, find the defendant, William Earl Morris,

of the crime of possession of a firearm in furtherance of a crime of violence, as charged in

COUNT 5 of the Indictment.


                  IF youR ANSWER      rs "NOT GUILTY" To BorH 5A AND 58, sKrp                    ro
                  QUESTIoN 6.

                  IF YoUR ANSWER Is   "GUILTY,'To 5A, ANSWER       QUESTToN   5C.

                  IF youR ANSWER rs "GUILTY" To 58, ANSWER euEsrroN 5D.



         5C. If your answer to question    5,A.   is guilty, speciff one or more of the three crimes

the   jury unanimously agrees the firearm was used and carried during and in relation to:


             _ (l)     Conspiracy to participate in the affairs of an enterprise
                       through a pattem of racketeering activity, as alleged in
                       Count I of the Indictment

             L fq      Attempted murder in aid of racketeering, as alleged in Count
                       3 of the Indictment

              A    (3) Assault with a dangerous weapon in aid of racketeering,              as
                       alleeed in Count 4 of the Indictment

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         5D. If your answer to question 58 is guilty, specifr one or more of the three crimes

the   jury agrees the firearm was possessed in furtherance of:

                   (l)   Conspiracy to participate in the affairs of an enterprise
                         through a pattem of racketeering activity, as alleged in
                         Count I of the Indictment

              X    (2) Attempted murder in aid of racketeering,   as alleged in Count
                         3 of the Indictment

                   (3) Assault with a dangerous weapon in aid of racketeering,    as
                         allesed in Count 4 of the Indictment




        6.   We, the Jury, find the defendant, William Earl Morris,

of the crime of being a felon in possession of a firearm, as charged in COUNT 6 of the

Indictment.




         YoU HAyE C0MPLETED YoUR DELIBERATIONS. PLEASE IIA!'E                     YOUR
         FOREPERSON SIGN AND DATE THIS FORM BELOW.




        SIGhIATT]RE REDACTED                                            2-t7, t3
                                                                           DATE




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